       Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 1 of 17




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

Glen S. Babich and Norma S. Babich,

                              Plaintiffs,

v.                                                          No. 1:21-cv-689

TEMP TRANS, CORPORATION, a California
Corporation, And Ignacio Rodriguez, an individual,

                              Defendants.

                    ORIGINAL COMPLAINT TO RECOVER
              DAMAGES FOR PERSONAL INJURIES AND NEGLIGENCE

       COME NOW the plaintiffs Glen S. Babich, individually, and Norma S. Babich,

individually, by and through the undersigned attorneys, who file their Original Complaint against

TEMP TRANS, CORPORATION, in its own corporate capacity, and Ignacio Rodriguez, an

individual (“Defendants”) and complain and allege as follows:

                                            THE PARTIES

       1.      Plaintiff Glen S. Babich is a resident of St. Clair County, Illinois.

       2.      Plaintiff Norma S. Babich is a resident of St. Clair County, Illinois.

       3.      Defendant TEMP TRANS, CORPORATION (“TEMP TRANS”), based on

information and belief, is a trucking company and motor carrier incorporated in the State of

California and doing business throughout the State of New Mexico. Defendant TEMP TRANS is

a California corporation without a registered agent for service of process in New Mexico. Upon

information and belief, service can be perfected on TEMP TRANS, through summons on its

registered agent for service of process in California, InCorp Services, Inc., 5716 Corsa Ave., Suite

110, Westlake Village, California 91362-7354 and/or wherever it may be found.


                                                 1
       Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 2 of 17




       4.      Defendant Ignacio Rodriguez (“Rodriguez”) based on information and belief, is

an individual residing in Cudahy, California. Upon information and belief, service can be perfected

on Rodriguez through summons at his place of residence, 7529 Wilcox Ave., Cudahy, California

90201-0000 and/or wherever he may be found.

                                   JURISDICTION AND VENUE

       5.      This Court has personal jurisdiction over Defendants because (i) the incident

underlying this lawsuit occurred in the State of New Mexico, (ii) Defendants made purposeful use

of the roads and highways within and through the State of New Mexico, and (iii) Defendants

conduct substantial transportation in New Mexico. Defendant TEMP TRANS routinely sends

drivers such as Rodriguez carrying freight through the State of New Mexico. Both Defendants

committed egregious acts and torts in and which directly affected the State of New Mexico. Both

Defendants’ contacts are so continuous and systematic that they render Defendants essentially “at

home” in New Mexico. That is, Defendants transact sufficient business, including the operation of

tractor-trailers, in and through the State of New Mexico so as to be hauled into court here. NMSA

1978, § 38-1-16(A)(1), (3) (1971).

       6.      This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C. §

1332 because the parties are completely diverse and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

       7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because all

activities alleged herein occurred in Quay County, New Mexico.




                                                2
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 3 of 17




                                       RELEVANT FACTS

       8.      On or about October 28, 2018, plaintiff Glen S. Babich was operating a 2017 Ford

SUV eastbound on Interstate 40 in Quay County, New Mexico with plaintiff Norma S. Babich as

his back-seat passenger. At all times material, Glen S. Babich was operating the Ford SUV in a

safe, reasonable and prudent manner.

       9.      At the same time, Defendant Rodriguez was driving a tractor-trailer unit (also

referred to as “TEMP TRANS tractor-trailer”) eastbound on Interstate 40 when, suddenly and

without warning, Rodriguez operated, caused and allowed the TEMP TRANS tractor-trailer he

was operating to travel left of center and enter the travel lane occupied by the Ford SUV being

operated by Glen S. Babich, causing a collision. This collision occurred in the eastbound passing

lane of Interstate 40 and caused serious and painful permanent injuries and damages to plaintiff

Glen S. Babich and plaintiff Norma S. Babich as their vehicle rolled multiple times before

coming to rest on its roof. Upon information and belief, at the time of the incident, defendant

Rodriguez was operating the tractor-trailer in the course and scope of his employment with

defendant TEMP TRANS. Plaintiffs hereby invoke the legal doctrines of vicarious liability and

respondeat superior, thus making defendant TEMP TRANS legally responsible and liable for the

negligent and otherwise wrongful acts and omissions of defendant Rodriguez.

       10.     Upon information and belief, at the time of the incident, defendant TEMP TRANS,

was a motor carrier registered and authorized to transport goods and materials interstate and

pursuant to the rules and regulations of the United States Department of Transportation and the

Federal Motor Carrier Safety Administration. At all times material, Defendant Rodriguez was

operating the tractor-trailer under this authority. As such, defendant Rodriguez was acting as the

‘statutory employee’ of defendant TEMP TRANS as the term “statutory employee” is used and



                                                3
       Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 4 of 17




applied at law and pursuant to the rules and regulations of the United States Department of

Transportation and the Federal Motor Carrier Safety Administration.

        11.     At all times material, defendant TEMP TRANS owned or controlled both the

tractor and trailer being operated by defendant Rodriguez. As such, Defendant TEMP TRANS

was responsible for, and had the legal duty to use ordinary care regarding, the condition, upkeep,

maintenance, servicing and repair of the tractor and trailer.         Defendant TEMP TRANS

additionally had the legal duty to follow any and all rules and regulations of the United States

Department of Transportation and the Federal Motor Carrier Safety Administration regarding the

condition, upkeep, maintenance, servicing and repair of said tractor and trailer. Defendant TEMP

TRANS failed to exercise ordinary and reasonable care regarding the condition, upkeep,

maintenance, servicing and repair of said tractor and trailer and, further, failed to follow any and

all rules and regulations of the United States Department of Transportation and the Federal Motor

Carrier Safety Administration regarding the condition, upkeep, maintenance, servicing and repair

of said tractor and trailer.

        12.     In addition to defendant Rodriguez’s negligent, careless and reckless driving,

Rodriguez was operating the TEMP TRANS tractor-trailer at a time when he was fatigued,

impaired and otherwise unable, due to his physical and mental condition, to safely operate the

tractor-trailer. Rodriguez’s fatigue, impairment and physical and mental condition allowed, led

to, and caused the TEMP TRANS tractor-trailer being driven by Rodriguez to travel left of

center and enter the travel lane occupied by the Ford SUV being operated by Glen S. Babich,

causing a collision. Pleading further, defendant TEMP TRANS knew, or in the exercise of

ordinary and reasonable care should have known, of Rodriguez’s fatigue, impairment and physical

and mental condition before entrusting the TEMP TRANS tractor-trailer to Rodriguez.



                                                 4
       Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 5 of 17




       13.     Upon information and belief, defendant Rodriguez was neither fit nor qualified to

operate the tractor-trailer unit and had demonstrated same before the date of the subject collision.

At the time of the crash and before, defendant TEMP TRANS knew, or in the exercise of ordinary

and reasonable care should have known, that defendant Rodriguez was neither fit nor qualified to

operate the tractor-trailer unit. In addition, defendant TEMP TRANS failed to implement and

follow the rules and regulations of the United States Department of Transportation and the Federal

Motor Carrier Safety Administration regarding the selection, hiring and qualification of a

commercial motor vehicle driver, including defendant Rodriguez.

       14.     Defendant TEMP TRANS further failed to provide and implement sufficiently

supervision, training and auditing of defendant Rodriguez Further, defendant TEMP TRANS

failed to implement and follow the rules and regulations of the United States Department of

Transportation and the Federal Motor Carrier Safety Administration regarding the supervision,

training and auditing of commercial motor vehicle driver, including defendant Rodriguez.

       15.     To be clear, and as a direct and proximate result of defendants’ negligent, careless

and reckless acts and omissions, plaintiffs Glen S. Babich and Norma S. Babich suffered the

severe injuries, damages and losses as set forth herein.

                                  COUNT 1 – NEGLIGENCE
                                  (As Against All Defendants)

       16.     Plaintiffs hereby re-allege and incorporate by reference each and every preceding

paragraph as though fully set forth herein.

       17.     At all relevant times, defendant Rodriguez had a duty to exercise reasonable care

in operating the TEMP TRANS tractor-trailer, including but not limited to keeping a lookout

for vehicles, controlling the speed and movement of the vehicle, maintaining a safe and single lane

of traffic, failing to pay adequate attention to the task of safely driving and operating the TEMP

                                                 5
          Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 6 of 17




TRANS tractor-trailer, failing to control the vehicle, driving while distracted, fatigued and/or

impaired, and in driving and controlling the TEMP TRANS tractor-trailer so as to create and

pose a danger to people and property . Rodriguez failed with respect to each and all of these

duties and such acts and omissions, singularly and jointly, constitute negligence so as to be a cause

of the collision made the basis of the lawsuit and the resulting injuries, death and damages alleged

herein.

          18.   Defendants, and each of them, had a further duty to own, operate, entrust, manage,

control, service, repair, inspect, and/or maintain the TEMP TRANS tractor-trailer with the

ordinary care and skill necessary to avoid causing harm and/or injury to others such as plaintiffs

Glen S. Babich and Norma S. Babich. Defendants failed with respect to each and of these duties

and such acts and omissions, singularly and jointly, constitute negligence so as to be a cause of the

collision made the basis of the lawsuit and the resulting injuries, death and damages alleged herein.

          19.   All of the above under this Count constitute negligence on the part of defendants

and was a legal and cause of the collision made the basis of this lawsuit.

            COUNT 2 – NEGLIGENT HIRING, RETENTION, QUALIFICATION,
                  ENTRUSTMENT, TRAINING AND SUPERVISION
                 (Direct Liability As Against Defendant TEMP TRANS)

          20.   Plaintiffs hereby re-allege and incorporate by reference each and every preceding

paragraph as though fully set forth herein.

          21.   At all times herein alleged and upon information and belief, defendant Rodriguez

was the agent, employee and/or statutory employee of defendant TEMP TRANS, and in doing

the things alleged herein, those defendants were acting within the course and scope of such a

relationship(s) at all times material hereto.




                                                 6
       Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 7 of 17




       22.     In addition to its liability under the theories of respondeat superior and vicarious

liability, defendant TEMP TRANS is directly liable for its own negligence as such negligence led

to and was a legal and cause of the collision made the basis of this lawsuit.

       23.     Defendant TEMP TRANS is a common carrier and is registered as such with the

United States Department of Transportation and the Federal Motor Carrier Safety Administration.

As such, this defendant has certain duties and obligation which it must perform by exercising

reasonable and ordinary care. This duty is one that defendant TEMP TRANS owed to plaintiffs,

the New Mexico public at large, and to all users on or upon our public roads and highways. This

includes, in addition to others listed herein, the duty not to entrust a vehicle to an employee that

said employer knew, or reasonably should have known, was (potentially) dangerous to other users

and drivers of the public roads and highways. Defendant TEMP TRANS did just that: negligently

entrusted a vehicle to a potentially dangerous driver (defendant Rodriguez) when TEMP TRANS

knew, or reasonably should have known, of such condition.

       24.     As such, defendant TEMP TRANS, is legally required to run its business and make

use of its property in a reasonable manner using the due care, skill, and expertise as would an

ordinary person so as to not cause foreseeable and unreasonable risks of harm to others. In this

regard, defendant TEMP TRANS is responsible for the hiring, retention, qualification, retention,

supervision and training of employees to assure the proper execution of the duties of an over-the-

road truck driver. Defendant TEMP TRANS wholly and utterly failed to so exercise ordinary or

reasonable care in the discharge of these duties with respect to Defendant Rodriguez. Such failure

was a direct and cause of the collision made the basis of this lawsuit.

       25.     Defendant Rodriguez was an unsafe, reckless and/or incompetent driver at the time

he was first hired to drive and operate commercial motor vehicles for or on behalf of TEMP



                                                 7
       Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 8 of 17




TRANS. Defendant TEMP TRANS knew or, in the exercise or reasonable or ordinary care,

should have known of such. By allowing defendant Rodriguez to operate commercial motor

vehicles such as the TEMP TRANS tractor-trailer, a crash such as the one herein was a foregone

conclusion and, certainly, was reasonably foreseeable to defendant, TEMP TRANS. As such,

defendant TEMP TRANS was negligent in its hiring of Defendant Rodriguez, such negligence

being a direct and cause of the collision made the basis of this lawsuit.

       26.     Defendant Rodriguez remained an unsafe, reckless and/or incompetent driver

during the time after he was first hired to drive and operate commercial motor vehicles for or on

behalf of TEMP TRANS. Defendant Rodriguez’s unsafe, reckless and/or incompetent conduct

continued and worsened and defendant TEMP TRANS knew or, in the exercise or reasonable or

ordinary care, should have known of such. By allowing defendant Rodriguez to continue to

operate commercial motor vehicles such as the TEMP TRANS tractor-trailer, a crash such as

the one herein was a foregone conclusion and, certainly, was reasonably foreseeable to defendant,

TEMP TRANS. As such, defendant TEMP TRANS was negligent in its retention of defendant

Rodriguez, such negligence being a direct and cause of the collision made the basis of this lawsuit.

       27.     A commercial motor carrier such as defendant TEMP TRANS is required, both as

a matter of exercising reasonable or ordinary care and as required by the rules and regulations of

the United States Department of Transportation and the Federal Motor Carrier Safety

Administration, to qualify any person (including Defendant Rodriguez) who is hired to operate a

commercial motor vehicle such as the TEMP TRANS tractor-trailer. Defendant Rodriguez was

unqualified to so operate such vehicles and, further, defendant TEMP TRANS (i) failed to

properly and legally qualify defendant Rodriguez as such a driver and (ii) ignored the information

it did obtain in its meager efforts to qualify defendant Rodriguez. By allowing an unqualified or



                                                 8
       Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 9 of 17




improperly qualified driver such as defendant Rodriguez to be operate commercial motor vehicles,

a crash such as the one herein was a foregone conclusion and, certainly, was reasonably foreseeable

to defendant, TEMP TRANS.           As such, defendant TEMP TRANS was negligent in its

qualification of defendant Rodriguez, such negligence being a direct and cause of the collision

made the basis of this lawsuit

       28.     A commercial motor carrier such as defendant TEMP TRANS is required, both as

a matter of exercising reasonable or ordinary care and as required by the rules and regulations of

the United States Department of Transportation and the Federal Motor Carrier Safety

Administration, to properly train and supervise any person (including Defendant Rodriguez) who

is hired to operate a commercial motor vehicle such as the TEMP TRANS tractor-trailer.

Defendant Rodriguez was neither properly trained or supervised, nor was Defendant Rodriguez

trained or supervised as would as person exercising reasonable or ordinary care would have done.

By allowing an untrained or improperly supervised driver such as Defendant Rodriguez to be

operate commercial motor vehicles, a crash such as the one herein was a foregone conclusion and,

certainly, was reasonably foreseeable to Defendant, TEMP TRANS. As such, Defendant TEMP

TRANS was negligent in its qualification of Defendant Rodriguez, said negligence being a direct

and cause of the collision made the basis of this lawsuit.

       29.     In addition, Defendant TEMP TRANS failed to implement appropriate internal

rules or regulations regarding the hiring, retention, qualification, training and supervision of

drivers including Defendant Rodriguez.        Those rules that Defendant TEMP TRANS did

implement were inadequate, ignored or otherwise not followed. By not implementing or following

adequate, safe and reasonable internal rules regarding the hiring, retention, qualification, training

and supervision of drivers, a crash such as the one herein was a foregone conclusion and, certainly,



                                                 9
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 10 of 17




was reasonably foreseeable to Defendant, TEMP TRANS. As such, Defendant TEMP TRANS

was negligent in the implementing or following of said rules, said negligence being a direct and

cause of the collision made the basis of this lawsuit.

        30.     All of the above as set forth under this Count constitutes negligence, jointly and

singularly, on the part of Defendant TEMP TRANS and was a legal and cause of the collision

made the basis of this lawsuit.

                              COUNT 3 – NEGLIGENCE PER SE
                                 (As Against All Defendants)

        33.     Plaintiffs hereby re-allege and incorporate by reference each and every preceding

paragraph as though fully set forth herein.

        34.     At all relevant times, defendants TEMP TRANS and Rodriguez were obligated to

comply with the laws, rules and regulations, and safety requirements established by federal and

state statutes, regulations, rules and other requirements, including but not limited to the rules,

regulations and requirements of the Department of Transportation, the Federal Motor Carrier

Safety Administration, the National Highway and Traffic Safety Administration, the National

Transportation Safety Board, the Office of Highway Safety and other regulatory agencies.

        35.     Such statutes, regulations, rules, and other requirements have been promulgated for

the safety and benefit of the public at large, including plaintiffs Glen S. Babich and Norma S.

Babich, as well as the rest of the New Mexico motoring public.

        36.     The injuries, damages and losses made the basis of this lawsuit were the type of

injuries, damages and losses that such statutes, rules, regulations and other requirements were

designed to prevent. Defendants violated such statutes, rules, regulations and other requirements

so as to render them negligent per se. Such violations were a legal and cause of the collision made

the basis of this lawsuit.

                                                 10
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 11 of 17




       37.     At the time of the subject incident, there were in force and effect Federal Motor

Carrier Safety Act regulations that have been violated including but not limited to:

               a. FMCSR 392.2 (applicable operating rules);
               b. FMCSR 392.3 (ill or fatigued operators);
               c. FMCSR 392.4 (drugs and other substances);
               d. FMCSR 392.6 (schedules to conform to speed limits);
               e. FMCSR 392.7 (equipment, inspection and use);
               f. FMCSR 395.3 (maximum driving time);
               g. FMCSR 395.8 (record of duty status);
               h. FMCSR 391.1-.53 (qualification of drivers; background and character; testing;
                  physical qualifications and examinations; files and records);
               i. FMCSR 383.110-.113; .117 (required knowledge, skills and endorsements);
               j. FMCSR 383.31-.35 (notification of driver violation convictions, license
                  suspensions and previous employment; employer responsibilities); and
               k. Any additional regulations or statutes that are revealed as violated during
                  discovery as this case progresses.


Defendants violated such rules, regulations and other requirements so as to render them negligent

per se. Even if such violations are such so as to not render defendants negligent per se, the

violation of such rules, regulations and other requirements does constitute a failure to use ordinary

and reasonable care so as to make defendants negligent. Regardless, such violations were a legal

cause of the collision made the basis of this lawsuit.

       38.     At the time of the subject incident, there were certain New Mexico State statutes in

force and effect that have been violated, including but not limited to:

               a. 66-7-301(b)(1) NMSA (1978) – requiring that in every event speed should be
                  so controlled by the driver as may be necessary to avoid colliding with any
                  person;
               b. 66-7-301(b)(2) NMSA (1978) – requiring that in every event speed shall be so
                  controlled by the driver as may be necessary to comply with legal requirements
                  as may be established by the State and Highway and Transportation Department
                  or the New Mexico State Police Division of the Department of Public Safety

                                                 11
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 12 of 17




                   and the duty of all persons to use due care;
               c. 66-8-113 NMSA (1978) – reckless driving;
               d. 66-8-114 NMSA (1978) – careless driving;
               e. 66-7-337 NMSA (1978) – drivers to exercise due care;
               f. 65-3-11 NMSA (1978)—hours of service of drivers which includes but shall
                  not be limited to maximum driving and on duty time, travel time, maintenance
                  of a driver’s log or record of duty status;
               g. 65-3-7 NMSA (1978) – qualifications of drivers;
               h. 65-3-8 NMSA (1978) – equipment; loading; driving; unsafe practices;
               i. 65-3-9 NMSA (1978) – commercial motor vehicles; equipment; regulations;
                  and
               j. Any additional regulations or statutes that are revealed as violated during
                  discovery as this case progresses.


Defendants violated such rules, regulations and other requirements so as to render them negligent

per se. Even if such violations are such so as to not render defendants negligent per se, the

violation of such rules, regulations and other requirements does constitute a failure to use ordinary

and reasonable care so as to make Defendants negligent. Regardless, such violations were a legal

and cause of the collision made the basis of this lawsuit.

                DAMAGES – PERSONAL INJURIES OF GLEN S. BABICH

       49.     Plaintiffs hereby re-allege and incorporate by reference each and every preceding

paragraph as though fully set forth herein.

       50.     As a further direct and proximate result of defendants’ negligence, plaintiff Glen

S. Babich, immediately prior to the collision, observed the TEMP TRANS tractor-trailer and

recognized the severity of the impending collision. This produced in Glen S. Babich a terror of

impending severe injury or death so as to produce legally cognizable and recoverable mental

anguish. Upon collision, Glen S. Babich then sustained blunt force trauma to his head and body,

producing severe personal injuries. His injuries include, but are not limited to, a concussion with


                                                 12
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 13 of 17




loss of consciousness; a head or brain injury with cognitive impairment; vestibular disturbance;

loss of peripheral vision; a neck injury; a low back injury; and multiple lacerations, contusions,

and soft tissue injuries.

        51.     Plaintiff Glen S. Babich remains under the care of physicians for all of the above-

listed, and other, injuries. It is anticipated that Glen S. Babich will continue to require, on an

ongoing and permanent basis, medical care and attention.

        52.     Glen S. Babich’s ability to work has been impaired and it is anticipated that this

impairment will continue over the span of his work life expectancy.

        53.     In addition to his physical pain and suffering and mental anguish caused by the

defendants’ negligence, three (3) service dogs owned by Glen S. Babich perished in this crash.

        54.     As a result, Plaintiff Glen S. Babich is entitled to recover, as his actual damages,

the following elements of damages:

                a.      Reasonable and necessary medical and health care-related expenses
                        sustained in the past and which, in reasonable probability, he will sustain in
                        the future;
                b.      Loss or impairment of earnings and/or earning capacity sustained in the past
                        and which, in reasonable probability, he will sustain in the future;
                c.      Other reasonable and necessary expenses sustained in the past and which,
                        in reasonable probability, he will sustain in the future;
                d.      Physical pain and suffering sustained in the past and which, in reasonable
                        probability, he will sustain in the future;
                e.      Mental anguish, pain and suffering sustained in the past and which, in
                        reasonable probability, he will sustain in the future;
                f.      Physical impairment sustained in the past and which, in reasonable
                        probability, he will sustain in the future;
                g.      Loss of enjoyment of life sustained in the past and which, in reasonable
                        probability, he will sustain in the future;
                h.      Physical disfigurement sustained in the past and which, in reasonable
                        probability, he will sustain in the future; and
                i.      The reasonable value of the three (3) service dogs that perished in this crash.

These injuries, damages and losses were brought to occur and were caused by the negligence of

defendants. Although the amount of damages to be awarded for the damages listed above is a

                                                  13
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 14 of 17




matter lying within the sound discretion of the Jury, your plaintiff would show that this amount

meets and greatly exceeds this Court’s jurisdictional limits.

               DAMAGES – PERSONAL INJURIES OF NORMA S. BABICH

        55.        Plaintiffs hereby re-allege and incorporate by reference each and every preceding

paragraph as though fully set forth herein.

        56.        As a direct and proximate result of defendants’ negligence which caused this

collision, plaintiff Norma S. Babich sustained blunt force trauma to her head and body, producing

severe personal injuries. Her injuries include, but are not limited to, a concussion with loss of

consciousness; a head or brain injury with cognitive impairment; vestibular disturbance; loss of

peripheral vision; a neck injury; a low back injury; and multiple lacerations, contusions, and soft

tissue injuries.

        56.        Plaintiff Norma S. Babich remains under the care of physicians for all of the

above-listed, and other, injuries. It is anticipated that Norma S. Babich will continue to require,

on an ongoing and permanent basis, medical care and attention.

        57.        Norma S. Babich’s ability to work has been impaired and it is anticipated that this

impairment will continue over the span of his work life expectancy.

        58.        As a result, Plaintiff Norma S. Babich is entitled to recover, as his actual damages,

the following elements of damages:

                   a.     Reasonable and necessary medical and health care-related expenses
                          sustained in the past and which, in reasonable probability, he will sustain in
                          the future;
                   b.     Loss or impairment of earnings and/or earning capacity sustained in the past
                          and which, in reasonable probability, he will sustain in the future;
                   c.     Other reasonable and necessary expenses sustained in the past and which,
                          in reasonable probability, he will sustain in the future;
                   d.     Physical pain and suffering sustained in the past and which, in reasonable
                          probability, he will sustain in the future;


                                                    14
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 15 of 17




               e.      Mental anguish, pain and suffering sustained in the past and which, in
                       reasonable probability, he will sustain in the future;
               f.      Physical impairment sustained in the past and which, in reasonable
                       probability, he will sustain in the future;
               g.      Loss of enjoyment of life sustained in the past and which, in reasonable
                       probability, he will sustain in the future; and
               h.      Physical disfigurement sustained in the past and which, in reasonable
                       probability, he will sustain in the future.

These injuries, damages and losses were brought to occur and were caused by the negligence of

defendants. Although the amount of damages to be awarded for the damages listed above is a

matter lying within the sound discretion of the Jury, your plaintiff would show that this amount

meets and greatly exceeds this Court’s jurisdictional limits.




                                     PUNITIVE DAMAGES

       54.     Plaintiffs hereby re-allege and incorporate by reference each and every preceding

paragraph as though fully set forth herein.

       55.     Plaintiffs would show that the wrongful conduct of Defendants herein is more than

mere accident. It evidences a degree of reprehensibility that neither the law nor society can or

should tolerate. The harm caused to Plaintiffs was both physical (one person is dead and another

severely and permanently disabled) and economic. Defendants’ wrongful conduct here evinces an

indifference to or a reckless disregard of the health or safety of Plaintiffs; of others similarly

situated; and to the public as a whole. Defendants’ conduct was not the result of an isolated

incident; rather, it was the unfortunate but foreseeable result of ongoing and deliberate indifference

to the rights, safety and welfare of us all. Such conduct must be both punished and deterred. While

the enormity of the losses sustained by Plaintiffs is substantial, so is the enormity of Defendants’

wrongs.

                                                 15
      Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 16 of 17




       56.     Whether viewed individually or jointly, Defendants’ wrongful conduct herein is of

such a nature so as to entitle Plaintiffs to a recovery of Punitive or Exemplary Damages.

       57.     The amount of such damages is a matter the is to be determined by the Jury.

Plaintiffs would respectfully leave such determination to that finder of fact.

                       JURY DEMAND AND PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment as follows:

               1.      Special and actual, as well as punitive damages in an amount to be proved

                       at trial and as allowed by law;

               2.      Pre-judgment and post-judgment interest as allowed by law;

               3.      Costs of court; and

               4.      Such other and further relief to which Plaintiffs may be justly entitled.

               A JURY IS DEMANDED AS TO ALL ISSUES HEREIN.



                                              Respectfully submitted,
                                              /s/ David J. Jaramillo
                                              David J. Jaramillo
                                              JARAMILLO LAW FIRM, PC
                                              505 Roma Avenue NW
                                              Albuquerque, NM 87102
                                              Phone: (505) 200-9454
                                              Fax: (505) 717-1502
                                              Email: david@djnmlaw.com

                                              and




                                                 16
Case 1:21-cv-00689-SCY-JFR Document 1 Filed 07/26/21 Page 17 of 17




                              Richard J. Zalasky, Esq.*
                              Bar #4768, MO Bar #29537
                              BROWN & CROUPPEN, P.C.
                              One Metropolitan Square
                              211 North Broadway, Suite 1600
                              St. Louis, Missouri 63102
                              Telephone: (314) 222-2222
                              richz@getbc.com
                              pipleadings@getbc.com

                              *Pro Hac Vice Pending

                              Attorneys for Plaintiffs




                                17
